                     Case 1:23-mj-00018-ZMF Document 11 Filed 03/08/23 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  __________ District of __________


                                                                  )
                             Plaintiff                            )
                                v.                                )      Case No.
                                                                  )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                                                                                            .


Date:
                                                                                          Attorney’s signature



                                                                                      Printed name and bar number




                                                                                                Address



                                                                                            E-mail address



                                                                                           Telephone number



                                                                                             FAX number


            Print                        Save As...                                                                 Reset
